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 5
     Attorneys for Defendant Emilio Lara
 6

 7                                UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                           Case No. CR-15-00039-GEB (EFB)
10
                    Plaintiff,
11
     v.                                                  STIPULATION TO VACATE HEARING
12                                                       ON MOTION TO COMPEL DISCOVERY
     EMILIO LARA,                                        AND [PROPOSED] ORDER THEREON
13

14                  Defendant.

15

16
            IT IS HEREBY STIPULATED by and between the parties that the hearing on the
17
     motion to compel discovery, currently set for June 13, 2017 at 2:00 p.m., is withdrawn without
18
     prejudice to a potential re-filing before the duty magistrate on a future date amenable to the
19

20   Court and the parties.

21          The reason for the stipulation is ongoing discovery of any outstanding discovery
22
     requested by the defense, including materials that are the subject of the motion to compel
23
     discovery. In the interests of efficiency and preservation of court resources, Mr. Lara's motion to
24
     compel discovery is not withdrawn, but a hearing on the motion is presently vacated while
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26   discovery conference between the parties proceeds. If the parties are able to informally resolve

27   all discovery disputes, Mr. Lara will withdraw his motion. In the event the parties are not able to
28

     STIPULATION TO VACATE HEARING ON MOTION TO COMPEL DISCOVERY AND [PROPOSED] ORDER THEREON
     U.S. V. LARA
     CASE NO. CR-15-00039-GEB (EFB)
                                                     1
              Case 2:15-cr-00039-GEB Document 52 Filed 06/13/17 Page 2 of 2


 1   resolve their discovery disputes, the parties will seek to re-file a motion to compel discovery
 2
     before the appropriate duty magistrate.
 3
            IT IS SO STIPULATED.
 4
                                                  PHILLIP A. TALBERT, ESQ.
 5
                                                  United States Attorney
 6

 7   Dated: June 12, 2017                      By: /s/Jeremy J. Kelley
                                                  JEREMY J. KELLEY, ESQ.
 8
                                                  Assistant United States Attorney
 9
                                                  Attorney for Plaintiff
10

11

12   Dated: June 12, 2017                         BAY AREA CRIMINAL LAWYERS, PC

13                                             By: /s/David J. Cohen
                                                   DAVID J. COHEN, ESQ.
14

15                                                Attorneys for Defendant Emilio Lara

16
            IT IS SO ORDERED.
17

18

19   Dated: June 13, 2017.                __________________________________________
                                          THE HONORABLE EDMUND F. BRENNAN
20
                                          UNITED STATES MAGISTRATE JUDGE
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     STIPULATION TO VACATE HEARING ON MOTION TO COMPEL DISCOVERY AND [PROPOSED] ORDER THEREON
     U.S. V. LARA
     CASE NO. CR-15-00039-GEB (EFB)
                                                     2
